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                     IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF ARKANSAS
                              WESTERN DIVISION



UNITED STATES OF AMERICA                                                  PLAINTIFF

vs.                             NO. 4:12CR00170-002 SWW

ZACHARY DYLAN CORDELL                                                     DEFENDANT


                                    AMENDED ORDER

       The Court finds that the Order dismissing the superseding petition to revoke defendant’s

probation [doc #274] should be modified to reflect that the superseding petition [doc #251] is

dismissed without prejudice.

       IT IS SO ORDERED this 6th day of May 2016.


                                                  /s/Susan Webber Wright
                                                  United States District Judge
